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                         UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA
                        Criminal Case No. CR 19-184 (JRT/DTS)

UNITED STATES OF AMERICA,                 )
                                          )
                     Plaintiff,           )
                                          )                  DEFENDANT'S POSITION
       vs.                                )                        ON SENTENCING
                                          )
RYAN THOMAS FEINE,                        )
                                          )
                     Defendant.           )


       Defendant Ryan Thomas Feine, through undersigned counsel, hereby submits his

position regarding sentencing. Mr. Feine promptly pled guilty and accepted responsibility

for his conduct after he was indicted, and is greatly ashamed and remorseful. He has no

prior criminal convictions. A comprehensive forensic psychological and psychosexual

evaluation concludes that Mr. Feine presents a low risk of recidivism and is amenable to

treatment. The stratospheric sentences indicated by the advisory sentencing guidelines

(life) or the statutory maximum (60 years), or the sentence requested by the prosecution

(50 years)1 are all far greater than necessary to achieve the purposes set under 18 U.S.C. §

3553(a) and fail to provide a just resolution. Mr. Feine recognizes the gravity of his

offenses but given his lack of criminal history and amenability to treatment he should




       1
         Undersigned counsel observes that the government is now recommending 540
months or 45 years in its position pleading. The government's specific arguments will be
addressed in a subsequent reply position pleading.
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eventually be given a chance for freedom and to lead a constructive life in the community.

The statutory minimum sentence (15 years) is closer to an appropriate sentence.

       Mr. Feine also requests that his sentence be structured so as to be concurrent with

any state criminal sentence arising out of the same conduct and to provide credit for the

time that he has spent in custody on for his conduct underlying the offense since his

original arrest by state authorities in August, 2018.

I.     APPLICABLE § 3553(a) FACTORS WARRANT A SENTENCE
       SUBSTANTIALLY BELOW THE ADVISORY SENTENCING
       GUIDELINES, STATUTORY MAXIMUM OR THE PROSECUTION'S
       REQUEST.

       The sentencing guidelines are astronomical. The outrage at sex offenses involving

children is understandable. However, the guidelines and the high sentences pushed in

these cases do not appear to be driven by rational thinking and lack an empirical basis. As

federal appeals courts have observed, the Guidelines pertaining to child pornography are

              fundamentally different from most and that, unless applied with great care,
              can lead to unreasonable sentences that are inconsistent with what § 3553
              requires. Sentencing Guidelines are typically developed by the Sentencing
              Commission using an empirical approach based on data about past
              sentencing practices. See Rita v. U.S., 551 U.S. 338, 349, 127 S.Ct. 2456,
              168 L.Ed.2d 203 (2007). However, the Commission did not use this
              empirical approach in formulating the Guidelines for child pornography.
              Instead, at the direction of Congress, the Sentencing Commission has
              amended the Guidelines under § 2G2.2 several times since their
              introduction in 1987, each time recommending harsher penalties. See
              United States Sentencing Commission, The History of the Child
              Pornography Guidelines, Oct. 2009, available at




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               http://www.ussc.gov/general/20091030_History_Child_Pornography_
               Guidelines.pdf.2

United States v. Dorvee, 616 F.3d 174, 184 (2d Cir. 2010). Other courts have recognized

the Guidelines on child pornography are entitled to less deference than other Guidelines

that are empirically based and have accordingly departed downward. See United States v.

Baird, 580 F. Supp. 2d 889, 895 (D. Neb. 2008); United States v. McElheney, 630 F.

Supp. 2d 886, 901-02 (E.D. Tenn. 2009). In the instant case, Mr. Feine requests a

downward variance.

       The mandatory minimum sentence already provides harsh punishment, and even a

substantial increase above that sentence is far lower than the guidelines or the

government's recommendation. Mr. Feine has admittedly committed egregious acts and

will be facing harsh punishment. At the same time, there is no basis to believe that he

cannot be treated and recidivism cannot be prevented. The applicable "reasonableness"

factors set forth in 18 U.S.C. § 3553(a) support a lower sentence. The sentencing

guidelines are merely advisory under Booker, and sentencing is based on factors set forth

under 18 U.S.C. § 3553(a), which provides that "The court shall impose a sentence

sufficient, but not greater than necessary, to comply with the purposes set forth in

paragraph (2) of this subsection." After calculating the guidelines, a district court "may

not presume that the Guidelines range is reasonable" but must make an independent

       2
           Although this decision discusses U.S.S.G. § 2G2.2 and the instant case applies § 2G2.1
the latter Guidelines are substantially higher and are similarly driven by political considerations
rather than empirical data and analysis.

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assessment of the 18 U.S.C. § 3553(a) factors based on the individual facts of the case.

Gall v. United States, 128 S.Ct. 586, 597 (2007). Incarceration of Mr. Feine for period of

time substantially longer than the statutory mandatory mininum is greater than necessary

to achieve the factors set forth in § 3553(a).

       Section 3553(a) sets forth the following factors that must be considered by a

sentencing court in imposing every sentence:

       (1)    the nature and circumstances of the offense and the history and
              characteristics of the defendant;

       As stated above, and in the PSR and psychological evaluation, Mr. Feine is

horrified and enormously ashamed by what he has done. He promptly pled guilty to two

offenses knowing that he would face a mandatory minimum sentence of 15 years and

could face up to 60 years. This is also Mr. Feine's first criminal conviction of any sort. He

has otherwise been a law abiding and productive citizen.

       Mr. Feine has worked continuously since he was in high school. Following high

school, he has always had at least one full time job. For four years preceding his arrest,

Mr. Feine had a responsible and skilled job as an operations team leader for a company

manufacturing composite materials. The psychological evaluation documents that Mr.

Feine is a highly intelligent person who has underachieved in life.

       Mr. Feine has always maintained close and healthy relationships with his parents

and sister, all of whom speak very positively of Mr. Feine, explaining that he has always

been a caring and conscientious person who has led a good life. (PSR, paras. 59-63; psych

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report, pages 16-17). The psychological report also documents an interview with Mr.

Feine's friend and former girlfriend whom he has known since they were twelve, where

she describes Mr. Feine as a caring, generous and supportive person. (Psych Report at 17-

18).

       While Mr. Feine does not in any way seek to minimize the egregiousness of his

actions and their negative affect on his children, he was a responsible and committed

parent in other respects. Mr. Feine's statement to the probation officer that he loves his

children (PSR, para. 16) should be accepted as truthful.

       Outside of his crimes, Mr. Feine has been a good person in other aspects of his life

and his dealings with others. The extensive and thorough psychological evaluation

supports a conclusion that Mr. Feine can be treated and rehabilitated, and eventually lead

a productive and law abiding life in all respects. The psychologist, Dr. Peter Marston's

extensive testing of Mr. Feine using recognized diagnostic tools led to a conclusion that

Mr. Feine presents a below average risk of being charged or convicted of another sexual

offense, with a five year recidivism rate of about 5 percent. (Psych Report at 4-7; cited in

PSR, para. 68). Dr. Marston indicated that Mr. Feine is likely to be successful in

treatment based on his willingness to undergo treatment, his high intelligence, and

findings the children are not his primary sexual attraction which makes his behaviors

easier to undo.




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       Although Mr. Feine's criminal conduct is severe, his lack of prior criminal history

and otherwise positive life, and his amenability to treatment all justify a sentence that

gives him a second chance to live his life rather than staying in prison for the remainder

of his life or until he is elderly.

       (2)     the need for the sentence imposed–

               (A)     to reflect the seriousness of the offense, to promote
                       respect for the law, and to provide just punishment for
                       the offense;

               (B)     to afford adequate deterrence to criminal conduct;

               (C)     to protect the public from further crimes of the
                       defendant; and

               (D)     to provide the defendant with needed educational or
                       vocational training, medical care, or other
                       correctional treatment in the most effective manner;

       A sentence near the statutory mandatory minimum rather than the sentence

requested by the government would harsh punishment that reflects the seriousness of the

offense, and would be sufficient to deter others from similar crimes and protect others

from Mr. Feine. The mandatory minimum sentence also provides far more time than is

needed to provide Mr. Feine with sex offender treatment and enable him to undertake

further educational training if even available in prison. Merely warehousing Mr. Feine in

a federal penitentiary for the remainder of his life or until he is too old to build a

substantial life will serve no constructive purpose for society as well as for Mr. Feine.

There is no indication that he cannot be supervised in the community so that he can lead a

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productive life with assurance that Mr. Feine does not re-offend. Any sentence above the

mandatory minimum will be a harsh punishment. A sentence substantially above the

mandatory minimum will not serve any further useful purpose.

       (3)    the kinds of sentences available;

       The applicable statue requires a prison sentence. There also options and resources

available on supervised release to ensure that Mr. Feine does not re-offend and thereby

make in preferable not to keep Mr. Feine in prison longer than statutorily required or

necessary.

       (4)    the kinds of sentence and the sentencing range established for–

              (A)    the applicable category of offense committed by the
                     applicable category of defendant as set forth in the
                     guidelines . . .

       The sentencing guidelines are advisory and in this case longer than the statutory

maximum. For reasons stated above, a sentencing approach that puts aside both the

guidelines, statutory maximum and government's recommendation is appropriate.

       (5)    any pertinent policy statement under the Sentencing Guidelines

       No policy statements are known that are specifically pertinent to this case.

       (6)    the need to avoid unwarranted sentence disparities among
              defendants with similar records who have been found guilty of
              similar conduct; and

       It is unknown whether persons found guilty of similar conduct have received

greater or lessor sentences than Mr. Feine is proposing. In a recent case in this district


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involving child pornography and child sex abuse where the advisory sentencing

guidelines called for life imprisonment, the Court sentenced the defendant to 300 months.

United States v. Wilson, 17-CR-89 (SRN/LIB).

       (7)    the need to provide restitution to any victims of the offense.

       Mr. Feine has agreed to pay any appropriate restitution, which will be at least

$6000. He will be in a better position to pay restitution if he is outside of prison where he

can obtain gainful employment.

II.    MR. FEINE SHOULD RECEIVE CREDIT FOR ALL TIME SPENT IN
       CUSTODY.

       As of the date of sentencing, Mr. Feine will have been incarcerated for almost 18

months in connection with the conduct underlying this case but will not receive any credit

absent explicit action by the Court. He was arrested on August 9, 2018 on state charges of

sexual assault that constitute the same conduct as Count 1 of the Indictment. For the first

eleven months, Mr. Feine was in state custody. Since late July, 2019, Mr. Feine has been

in U.S. Marshal custody pursuant to a writ. Mr. Feine is entitled to credit for all of the

time he has been in custody for conduct underlying this case.

       The PSR cites 18 U.S.C. § 3585(b) for the proposition that prior custody credit

cannot be granted if the defendant has received credit towards another sentence. This

does not appear to be a correct statement of that statute which requires that credit be given

towards pre-sentence detention that has not been credited against another sentence, but

does not contain any prohibition against a court exercising its discretion to credit time

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served in custody for two different offenses. This provision is also not applicable because

Mr. Feine has not been given credit towards any other sentence, as he is not currently

serving any sentence and his pending state cases will not have dispositions prior to his

sentencing in this case.

       The PSR notes that Mr. Feine is also facing a state charge for conduct with the

same victim that is not related to the charges in the indictment and the disposition of that

case is unknown. That does not change the undisputed fact that Mr. Feine was originally

arrested and has continuously remained in custody for the same conduct addressed in

Count 1 in of the Indictment.

       U.S.S.G. § 5G1.3( c) provides that where “ a state term of imprisonment is

anticipated to result from another offense that is relevant conduct to the instant offense of

conviction . . . the sentence for the instant offense shall be imposed to run concurrently to

the anticipated term of imprisonment.” It is therefore important for the Court to recognize

that any time that Mr. Feine has spent or will spend in custody for the underlying relevant

conduct should be credited towards his federal sentence. To the extent that the time

already spent in custody or to be spent in custody will not be credited by the Bureau of

Prisons, the Court, after imposing its sentence, should adjust the sentence downward for

all time spent in custody for the underlying conduct and note the time to be credited in the

Judgement. See U.S.S.G. § 5G1.3, Application Note 2( C).




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                                     CONCLUSION

       For the foregoing reasons, Mr. Feine respectfully requests that the Court exercise

its discretion in imposing a sentence independent of the advisory guidelines and the

prosecution's request, which will still be a long sentence but give Mr. Feine a chance of a

life outside of prison. The purposes of 18 U.S.C. Section 3553(a), fairness, the ends of

justice, and the safety of the community are best served if the Court looks to the

mandatory minimum sentence of 15 years as its guidepost, which means harsh

punishment while providing ample time for necessary treatment and rehabilitation. The

Court should further impose its sentence in a manner the ensures that Mr. Feine receives

credit for all of his time in custody since his arrest on August 9, 2018 for the conduct

relating to his offense.


Dated: January 17, 2020                        LAW OFFICE OF JORDAN S. KUSHNER

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